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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO
                                 ____________________

MICHAEL JACOBS and
RUBY HANDLER JACOBS,

       Plaintiffs,

v.                                                           Case No. 1:21-cv-00690-MV-SCY

THE JOURNAL PUBLISHING COMPANY
d/b/a/ THE ALBUQUERQUE JOURNAL,
WILLIAM P. LANG, NICHOLE PEREZ,
JAMES THOMPSON, ELISE KAPLAN,
KAREN MOSES, and DOES 1 THROUGH 20,
INDIVIDUALLY OR JOINTLY AND SEVERALLY,

       Defendants.

            ORDER STRIKING AMENDED COMPLAINT AND GRANTING
              EXTENSION OF TIME FOR DEFENDANTS’ RESPONSE

       THIS MATTER comes before the Court on Defendants’ Motion To Strike Plaintiffs’

Purported Amended Complaint, Doc. 55; and Plaintiffs’ Motion For Leave To File Second

Amended Complaint, Doc. 56.

       On July 14, 2022, the Court granted Defendants’ motion to dismiss and ordered that

Plaintiffs shall file a motion to amend the complaint within 30 days of the entry of that Order.

Doc. 52. This 30-day deadline expired on Saturday, August 13, placing the motion’s due date on

the following business day, August 15. Fed. R. Civ. P. 6(a)(1)(C). On August 16, Plaintiffs filed

an amended complaint without an accompanying motion for leave to file an amended complaint.

Doc. 54. Plaintiffs also filed this document under seal.

       On August 18, Defendants filed the present motion to strike, pointing out that the Court

had given Plaintiffs permission to file a motion for leave to amend the complaint, not permission
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to file an amended complaint. Doc. 56 at 1. Federal Rule of Civil Procedure 15(b) requires the

consent of all parties or court permission to file an amended complaint outside the circumstances

outlined by Rule 15(a), which do not apply here. Doc. 56 at 2-3. Defendants did not consent to

the filing of the amended complaint. Id. at 3.

           Plaintiffs promptly responded by filing a motion for leave to amend the complaint, on

August 24. Doc. 56. Defendants opposed that motion, noting that the Court order was clear, and

that defense counsel had also reminded Plaintiffs that a motion for leave would be required. Doc.

60 at 2. Defendants request that the Court deny Plaintiffs’ motion to amend as untimely. Id. at 3.

In the alterative, Defendants request that the Court grant it 21 days to file a substantive response

to the motion to amend. Id. Plaintiffs do not oppose this alternate request for additional time to

respond. Doc. 61 at 5.

           In explaining their failure to timely file the motion for leave to amend, Plaintiffs assert

that they do not have reliable internet service and that they “mistakenly” filed the amended

complaint rather than a motion to amend, and corrected the error as soon as they were able. Doc.

57 at 2.

           The Court grants the motion to strike the amended complaint on the grounds that this

document was filed without consent of the opposing party or leave of Court, and because it was

filed under seal without Court permission. See Doc. 46 at 6 (instructing Plaintiffs that “[p]arties

seeking to file a document under seal are required to seek leave of the Court before doing so”).

However, because the delay in filing a motion for leave to amend was neither lengthy, nor

prejudicial to Defendants, the Court excuses the untimely filing of the motion to amend and will

consider the motion on its merits.




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          Plaintiffs are nonetheless advised that if they repeatedly fail to meet Court deadlines in

the future, such behavior may be subject to a range of sanctions under Federal Rule of Civil

Procedure 37(b), including dismissal of their case. In addition, the Court reminds Plaintiffs that,

in order to obtain permission for electronic filing in this case, Plaintiffs certified that they had

satisfactory access to a computer with the internet. Doc. 14 at 1; Doc. 15 at 1. If Plaintiffs

experience further difficulties meeting deadlines in this case due to problems with their internet

access, the Court will revoke their e-filing privileges and require all filings to be by US mail.

          The Court grants Defendants’ alternate request for additional time in which to file a

substantive response to Plaintiff’s motion for leave to amend the complaint. That response is due

21 days from the date of this Order, subject to reasonable extensions of time as stipulated by the

parties or by leave of Court. Plaintiffs may file a reply, which will be due no later than 14

calendar days after the response is filed (unless that date falls on a weekend or holiday in which

case the reply will be due on the following business day), also subject to reasonable extensions

of time. D.N.M.LR-Civ. 7.4(a).

          THEREFORE, IT IS ORDERED THAT Defendants’ Motion To Strike Plaintiffs’

Purported Amended Complaint, Doc. 55, is GRANTED. The “Amended Complaint For

Copyright Violation, Theft And Conversion, Trespass, Defamation, Invasion Of Privacy And

False Light, Declaratory Relief, Seeking Full Media Access,” Doc. 54, is STRICKEN from the

docket.

          IT IS FURTHER ORDERED THAT Defendants may file a substantive response to

Plaintiffs’ Motion For Leave To File Second Amended Complaint, Doc. 56, within 21 days of

the date of this Order.

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                                                         UNITED STATES MAGISTRATE JUDGE



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